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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA FILED IN CLERK'S OFFICE
                                                          U.S.D.C.-Atlanta
                           ATLANTA DIVISION


                                                                     JAMES N.   ATTEN, Clerk
   UNITED STATES OF AMERICA
                                                                    By    =        Deputy Clerk
         V.
                                              Criminal Information

   EVELYN K. TAYLOR-PARKS                     No.1:18-CR-299-SCJ




THE UNITED STATES ATTORNEY CHARGES THAT:




   1. Beginning on a date unknown, but at least from in or about late-2011 to in

or about February 2014, in the Northern District of Georgia and elsewhere,

defendant EVELYN KATRINA TAYLOR-PARKS, as the City of Atlanta's Deputy

Chief of Staff to the Mayor, knowingly and willfully conspired, agreed, and had a

tacit understanding with another person known to the United States Attorney, to

corruptly solicit and accept a thing of value from a person, intending to be

influenced and rewarded in connection with a transaction and series of

transactions of the City of Atlanta government, involving something of value of at

least $5000, in violation of Title 18, United States Code, Section 666(a)(1)(B).

   2. In furtherance of the conspiracy, PARKS and her co-conspirator/ s

committed at least one of the following overt acts:

     a. On or about January 28, 2013, a vendor with the City of Atlanta

         ("Vendor") wrote a $2,000 check to TKP Solutions, L.L.C., a business

         owned and organized by PARKS.
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b. On or about February 15, 2013, PARKS filed a City Financial Disclosure
  Statement with the City of Atlanta falsely attesting that she was not self-
  employed or employed by any business or entity other than the City of
  Atlanta.
c. On or about March 28, 2013, Vendor wrote a $2,000 check to PARKS's
  husband.
d. On or about April 22, 2013, Vendor deposited an approximately $11,750
  check from the City of Atlanta into a business account he controlled.
e. On or about June 21, 2013, Vendor deposited an approximately $15,000
  check from the City of Atlanta into a business account he controlled.
f. On or about July 19, 2013, Vendor deposited an approximately $17,200
  check from the City of Atlanta into a business account he controlled.
g. On or about July 31, 2013, Vendor deposited an approximately $36,149
  check from the City of Atlanta into a business account he controlled.
h. On or about March 27, 2014, PARKS filed a City Financial Disclosure
  Statement with the City of Atlanta falsely attesting that she was not self-
  employed or employed by any business or entity other than the City of
  Atlanta.




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       3. The City of Atlanta (Georgia) government is a local government that
    received federal assistance in excess of $10,000 during each calendar year from
    2011 to 2014.
       All in violation of Title 18, United States Code, Section 371.


     BYUNG J. PAK
      U 'ted States



     JE  RE VV. DAVIS
      A sistant United States Attorney
     Gear is Bar No. 426418



            STEINBERG"
     JILL 1E.
      Assistant United States Attorney
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